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           EXHIBIT F
From:              Case 2:23-cv-02802-WBS-CKD
                           Scott Love         Document 1-6 Filed 12/04/23 Page 2 of 3
Sent:                         Saturday, February 18, 2023 2:00 PM
To:                           Tom Lopez; Madison York
Cc:                           Diana Lopez
Subject:                      Community Event at Stephens Davis Library on 2/25

Sheriff Lopez and Madison York,

I wanted to make you both aware of a community event that is set for next Saturday, Feb. 25, from 4:30pm-7pm. The event is
called Brave Books Read Aloud, and is being put on by an organization called Moms for Liberty. Brave Books is a Christian
Publisher who has books that are anti-trans, anti-woke, and anti-critical race theory. They have ties to Kirk Cameron, who has
been trying to have story times in libraries across the country. This is not a program that the library is involved in, as it goes
against our diversity, equity and inclusion values. The organizer is aware of our meeting room policies, and is acting within them.
They were told that anything posted about the event must include language that the library is not sponsoring or supporting the
event. They were asked to change the name of their program away from being called a “Children’s Storytime,” so as to not
imply the library being involved in it. Brave Books does have the event listed on their website, and we’ve received a few
inquiries from the public on the program.

The person organizing the program, Elizabeth “Beth” Bourne, has been very prominent in the Davis Parents Facebook group
lately, making many anti-trans posts. She herself is divorced, and has a trans student attending Davis Senior H.S. We are aware
that local LGBTQIA groups in the region are aware that this program is happening. They plan to table outside prior and to attend
the event.

Additionally, the library has a library sponsored event by local African American author/illustrator, Nikki Shannon Smith,
immediately proceeding the event, so we’ll be sure to be overseeing the event and transition, should anything potentially
happen between events.

We have made Police Chief Pytel, City Manager Mike Webb, and Gerardo Pinedo aware of the event already. I have asked Pytel
to please brief his dispatchers and patrols on the event, in case we need to contact them that evening, but have asked that we
not have a police presence unless requested. Similarly, we are not asking for assistance with the event, but wanted to make
sure your department was aware, and would appreciate you giving dispatchers and deputies a heads up in case we find
ourselves needing to reach out next Saturday evening. Since Kirk Cameron does have a national following, we expect that there
could be a media interest in the event too. Cameron is listed as NOT attending this event.

Here is a link to an article about Cameron and his push to read stories in libraries:
https://nypost.com/2022/12/19/kirk-cameron-declares-a-win-over-two-public-libraries-that-denied-him-story-hours-
but-caved/

Additionally, Moms for Liberty has been tied to book banning and a comment about gun violence against librarians:
https://www.mediamatters.org/critical-race-theory/unmasking-moms-liberty
https://www.mediamatters.org/critical-race-theory/moms-liberty-leader-threatens-gun-violence-against-librarians-newly-
leaked
https://www.mediamatters.org/moms-liberty/moms-liberty-hiding-behind-these-front-groups-they-gut-public-school-libraries

Please let me know if you have any questions.

Thanks,

                                                                                                   Exhibit F, Page 1
Scott Love          Case 2:23-cv-02802-WBS-CKD Document 1-6 Filed 12/04/23 Page 3 of 3
Library Regional Manager – West Yolo Region
Yolo County Library - Stephens-Davis Branch Library
                 , Davis CA 95616
               office
               cell


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“We Acknowledge that we are on the traditional territory and homelands of the Yocha Dehe Wintun Nation.” For more
information, please visit https://www.yochadehe.org/.




                                                                                             Exhibit F, Page 2
